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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

I Le

v. JUL 46 2024

CLERK'S OFFICE
DETROIT

CASE NO. 2:14-CR-20800

GABRIEL URZUA SANCHEZ,

MOTION FOR REDUCTION OF SENTENCE UNDER 18 U.S.C. §3582(C)(2)
AMENDMENT 782

NOW COMES the Petitioner, Gabriel Urzua Sanchez, respectfully files
this Motion for Reduction of Sentence Pursuant to 18 U.S.C. §3582(C)(2),
in light of the U.S.S.G. Amendment 782.
BACKGROUND

The. Petitioner was sentenced under an illegal enhancement based on
21 U.S.C. §851. The §851 enhancement subjected Mr.Sanchez to a mandatory
minimum sentence of 240 months. In light of this miscarriage of justice,
the law states that Minnesota state statute for a conviction of cocaine
no. longer qualifies as a "Felony Drug Offense" under federal law. This.

fact is supported by the federal definition of cocaine which does not

include "positional isomers of cocaine". See United States v. Owen, 51
F.th 292(8th.Cir,2022), United States v. Eggerson, 2023 U.S. Dist Lexis
112962, No. 22-CV-1737(D WF).

Thus, Mr.Sanchez's conviction under Minnesota's first degree posse-

ssion of cocaine statute(1998) 3152.021 and Minnesota's third degree sales

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v. Capps, No. 1:11-cr-00108, at 19(E.D.MO Jan 31,2024), United States v.
Domenech, 63 F.4th 1078(6th.Cir.March 31,2023) found under $3582(c)(2)
Amendment 782 was granted in United States v. Smith, 2024 U.S. Dist. Lexis
30932(D,Md Feb 21,2024). If Mr.Sanchez were santenced today given the
decision in Owen, he would not be subjected to the §351 enhancement and

the resulting 240 months mandatory minimum sentence.
Conclusion

In light of the current legal landscape and the fact that Mr.Sanchez
Minnesota convictions do not qualify as "felony drug offenses" for the
use of enhancing his sentence under §851, the Petitioner ask that this
Honorable Court grant this motion for Reduction of Sentence and reduce

his sentence to a guideline range between 135-168 months.

Respectfully | Submitted,

AddidZ. A —

Gabriel Urzua Sanchez
#59621-039

FCL Manchester P.O. Box 4009
Manchester ,Ky 40962
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(1998) 3152.023 both sweep broader than the federal definition 2f cocaine
which only list optical and geometrical isomers and not positional isomers.
See Owen supra. Kwong v. Holder, 671 F,3d. 872(9th.Cir.2011), Coleman v.
United States, 79 F.4th 822(7th.Cir.2023), United States v. Ocampo-Sanchez,
873 F.3d 661°(9th.Cir.2017), United States v. Ruth, 966 F.3d 642, 648-50
(7th.Cir.2020), Samas v. United States, No. 3:10-CV-422, 2011 WL 221866,

2-4(D.Conn. Jan 20,2011).

Mr.Sanchez is seeking a Reduction of Sentence, due to the fact that
the Minnesota convictions that triggered the §851 enhancement no longer
qualify under 21 U.S.C. §802(44), See Mathis v. United States, 579 U.S.
500, 136 S.Ct. 2243(2016). These convictions are not "Felony Drug Offenses"
and were improperly applied for the §851 enhancement inwhich increased
his guideline from 135-168 to a mandatory minimum of 240 months. This
clear and obvious disparity in the sentence he received and the sentence
that Mr.Sanchez would receive today under the present law raises grave
concerns, and hints at the alternative that Mr.Sanchez could have pruceeded
to trial if not for this illegal sentence enhancement. (See Seatencing
Comm'n 2011 Report to Congress ‘Mandatory Minimum Penalties in the Federal
Criminal Justice System' 359,(2011)).

Mc.Sanchez has completed over 50% of his current sentence. The Petit-
ioner has not received any disciplinary infractions in ten plus years of
incarceration: Mr.Sanchez is currently enrolled in the GED classes and
has maintained a job throughout his incarceration in the B.O.P. Mr.Sanchez
can not read or write and is the father of five children. that he wishes
to rejoin in society in the near future. Mr.Sanchez meets the §3553(a)
factors under §3582(C)(2), see United States v. Brown No. 2:95-CR-66(2)

2024 U.S. Dist. Lexis 18673 (S.D.OH. February 2,2024), United States v.
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Institution Response - Inmate Request to Staff Member
Federal Correctional Institution
Manchester, Kentucky

Inmate Name: SANCHEZ, Gabriel Urzua
Register Number: 50621-039.

Work Assignment: Kitchen AM

Unit: Laurel B

This is in response to your Inmate Request to Staff Member, which was received on June 4, 2024, in
which you request consideration for a Compassionate Release and/or Reduction in Sentence under
section 2. Requests Based on Non-Medical Circumstances-Extraordinary or Compelling
Circumstances.

Program Statement 5050.50, “Compassionate Release/Reduction in Sentence: Procedures for

Implementation of 18 U.S.C 3582 and 4205 (g), dated January 17, 2019, addresses your request.
While the Bureau of Prisons does afford the opportunity for inmates to be considered for a
Compassionate Release/Reduction in Sentence, there are strict guidelines which manage this
process. After a careful review of your request and the information provided, you have not provided
adequate information regarding your claim. Therefore, you do not meet the criteria for a
Compassionate Release or Reduction in Sentence. Your request is strictly related to sentencing
guidelines imposed by the Court in which the Bureau of Prisons does not govern.

Your request for consideration for a Compassionate Release/Reduction in Sentence is denied. |
trust this information has addressed your concerns.

P17 ff pe ele / ay

Christine Hilliard, Warden Date

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